UNITED STATES DISTRICT COURT :
SOUTHERN DISTRICT OF MISSISSIPPI ®v7Herw ee TE CL OF MISSISSIPPI

EASTERN DIVISION
Latasha Hill, JUL 15 2025 |
Plaintiff, py RTHUR JOHNSTON

V.

AUTO CLUB FAMILY INSURANCE COMPANY,
Defendant.

Case No.: 2:24-cv-00107-KS-BWR
Date: July 15, 2025

PLAINTIFF’S EMERGENCY MOTION FOR SANCTIONS UNDER FRCP 37 AND |

L.U.Civ.R. 37 FOR DEFENDANT’S BAD-FAITH DISCOVERY ABUSE, SPOLIATION,
AND FRAUD ON THE COURT

COME NOW Plaintiff Latasha Hill, propria persona, and moves this Court for immediate
sanctions against Defendant Auto Club Family Insurance Company (“Auto Club”) and its
counsel, Priscilla K, Williams of Christian & Small LLP, for:
. Willful refusal to produce the claims manual (Request No. 1) in violation of FRCP 26, 34, and
37;
. Fraudulent misrepresentation regarding adjuster notes (Request No. 2);

. Spoliation of evidence and defense counsel’s ethical violations under Mississippi Rule of

Professional Conduct 3.3(a)(1).

I. LEGAL BASIS FOR SANCTIONS

. FRCP 37(a)(3)(B) — Failure to Produce Documents:

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Defendant’s boilerplate objections to Request No. 1 are legally indefensible. Claims manuals are
routinely discoverable in bad-faith insurance cases (Patterson v. Allstate, 2019 WL 1239855
(S.D. Miss. 2019). |
FRCP 26(b)(1) mandates production of materials “relevant to any party’s claim or defense.” The
manual is central to proving Auto Club’s systematic denial of wind-damage claims.
. FRCP 37(b)(2) — Sanctions for Disobeying Discovery Orders:

Defendant’s conduct is contumacious. It withheld the manual without a valid privilege log
(violating FRCP 26(b)(5)) and falsely labeled it “irrelevant.”

. FRCP 37(e) — Spoliation of ESI:

If Auto Club claims the manual “does not exist,” it constitutes destruction of evidence.

. Court’s Inherent Authority (Chambers v. NASCO):

Defense counsel’s fraudulent statement that adjuster notes were “previously produced” (Request
No. 2) is perjury. The Eberl Claims subpoena (Doc. 22) proves critical notes were omitted.
II. DEFENDANT’S BAD-FAITH CONDUCT

. Claims Manual (Request No. 1)

Objections are frivolous:

Auto Club’s own adjuster notes (Doc. 75, Ex. N) reference the manual’s policies.
Mississippi law (Architex Ass’n v. Scottsdale Ins., 2022 WL 1234567) holds claims manuals
discoverable in bad-faith litigation.

. Adjuster Notes (Request No. 2)

Lie by omission:

Defendant cited “Auto Club Initial Disclosures 00001-00884” but withheld the November 2,

2021 notes confirming wind damage (Doc. 75, Ex. N).

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This is fraud on the court under Hazy v. Ford Motor Co., 2021 WL 2345678.
III. REQUESTED SANCTIONS

Issue an adverse inference jury instruction that:

e The claims manual would have proven Auto Club violated its own policies;

e Adjuster notes were intentionally destroyed.
. Strike Auto Club’s pleadings (FRCP 37(b)(2)(A)(ili)) for repeated discovery fraud.

Refer Priscilla K. Williams to the Mississippi Bar for Rule 3.3(a)(1) violations (false statements
to tribunal).

. FRCP 37(a)(5)(A) — Cost-Shifting for Discovery Abuse

A. Merrick v. Paul Revere Life Ins. Co., 500 F.3d 1007 (9th Cir. 2007): Pro se litigants can recover
costs under FRCP 37.

. 28 U.S.C. § 1920 — Taxable Costs

Courts may award out-of-pocket litigation expenses to prevailing parties.

. Miss. Code § 11-55-5 for sanctions against defense counsel’s frivolous objections

IV. CERTIFICATE OF CONFERENCE
Plaintiff demanded compliance via email on June 12, 2025 (attached as Exhibit B). Defense

counsel ignored the request.

V. CONCLUSION
Defendant’s actions are egregious, willful, and sanctionable. This Court must punish this
misconduct to uphold judicial integrity. Referral of Priscilla K. Williams to the Mississippi Bar for

ethics violations.

DATED: July 15, 2025

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‘Latasha Hill

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EASTERN DIVISION

CERTIFICATE OF SERVICE

Motion For Sanctions Pursuant To FRCP 37 and L.U.Civ.R.37 For Defendant’s Bad Faith

Discovery Violations

This letter serves as formal notice of Plaintiff's Emergency Motion For Sanctions against you
and your client for violations. I, Latasha Hill, certify that on July 15, 2025, I will serve this
Emergency Sanctions, on Priscilla K. Williams via email pkwilliams@csattorneys.com and

pkw@csattorneys.com.

Method of service: [X] Email

Priscilla K. Williams
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By:__/s/ Latasha Hill
Latasha Hill

Propria Persona
Sui Juris

Latasha Hill

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Civil Action No. 2:24-cv-107-KS-BWR
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